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                       THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               NORFOLK DIVISION


 SYMBOLOGY INNOVATIONS, LLC,

                Plaintiff,

         v.                                   CIVIL ACTION NO. 2:17-cv-00084

 CONTINENTAL TIRE NORTH
 AMERICA

                Defendant.




                             NOTICE OF DISMISSAL

         Under the Federal Rule of Civil Procedure 41(a), Symbology Innovations,
LLC (“SI”) voluntary dismisses all claims against Defendant Continental Tire
North America with prejudice, with each party bearing its own attorneys’ fees and
costs.
Dated: April 5, 2017                         Respectfully submitted.


                                             /s/ Steven War
                                             Steven War
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                                             Innovations, LLC
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                            CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that on April 5, 2017, I have

caused a true and correct copy of the foregoing to be electronically filed with the

Clerk of the District Court using the CM/ECF system, which will send

notifications of such filing to all counsel of record.

Dated: April 5, 2017                           By: /s/ Steven War

                                               Steven War
